Case 2:02-cr-00023   Document 157   Filed 02/10/09   Page 1 of 32   PageID #: 93
Case 2:02-cr-00023   Document 157   Filed 02/10/09   Page 2 of 32   PageID #: 94
Case 2:02-cr-00023   Document 157   Filed 02/10/09   Page 3 of 32   PageID #: 95
Case 2:02-cr-00023   Document 157   Filed 02/10/09   Page 4 of 32   PageID #: 96
Case 2:02-cr-00023   Document 157   Filed 02/10/09   Page 5 of 32   PageID #: 97
Case 2:02-cr-00023   Document 157   Filed 02/10/09   Page 6 of 32   PageID #: 98
Case 2:02-cr-00023   Document 157   Filed 02/10/09   Page 7 of 32   PageID #: 99
Case 2:02-cr-00023   Document 157   Filed 02/10/09   Page 8 of 32   PageID #: 100
Case 2:02-cr-00023   Document 157   Filed 02/10/09   Page 9 of 32   PageID #: 101
Case 2:02-cr-00023   Document 157   Filed 02/10/09   Page 10 of 32   PageID #: 102
Case 2:02-cr-00023   Document 157   Filed 02/10/09   Page 11 of 32   PageID #: 103
Case 2:02-cr-00023   Document 157   Filed 02/10/09   Page 12 of 32   PageID #: 104
Case 2:02-cr-00023   Document 157   Filed 02/10/09   Page 13 of 32   PageID #: 105
Case 2:02-cr-00023   Document 157   Filed 02/10/09   Page 14 of 32   PageID #: 106
Case 2:02-cr-00023   Document 157   Filed 02/10/09   Page 15 of 32   PageID #: 107
Case 2:02-cr-00023   Document 157   Filed 02/10/09   Page 16 of 32   PageID #: 108
Case 2:02-cr-00023   Document 157   Filed 02/10/09   Page 17 of 32   PageID #: 109
Case 2:02-cr-00023   Document 157   Filed 02/10/09   Page 18 of 32   PageID #: 110
Case 2:02-cr-00023   Document 157   Filed 02/10/09   Page 19 of 32   PageID #: 111
Case 2:02-cr-00023   Document 157   Filed 02/10/09   Page 20 of 32   PageID #: 112
Case 2:02-cr-00023   Document 157   Filed 02/10/09   Page 21 of 32   PageID #: 113
Case 2:02-cr-00023   Document 157   Filed 02/10/09   Page 22 of 32   PageID #: 114
Case 2:02-cr-00023   Document 157   Filed 02/10/09   Page 23 of 32   PageID #: 115
Case 2:02-cr-00023   Document 157   Filed 02/10/09   Page 24 of 32   PageID #: 116
Case 2:02-cr-00023   Document 157   Filed 02/10/09   Page 25 of 32   PageID #: 117
Case 2:02-cr-00023   Document 157   Filed 02/10/09   Page 26 of 32   PageID #: 118
Case 2:02-cr-00023   Document 157   Filed 02/10/09   Page 27 of 32   PageID #: 119
Case 2:02-cr-00023   Document 157   Filed 02/10/09   Page 28 of 32   PageID #: 120
Case 2:02-cr-00023   Document 157   Filed 02/10/09   Page 29 of 32   PageID #: 121
Case 2:02-cr-00023   Document 157   Filed 02/10/09   Page 30 of 32   PageID #: 122
Case 2:02-cr-00023   Document 157   Filed 02/10/09   Page 31 of 32   PageID #: 123
Case 2:02-cr-00023   Document 157   Filed 02/10/09   Page 32 of 32   PageID #: 124
